     Case 2:19-cv-04532-ROS Document 398 Filed 05/19/23 Page 1 of 3



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                             UNITED STATES DISTRICT COURT
14
                                    DISTRICT OF ARIZONA
15

16   Earl Felton Crago, Jr.,                             No. 2:19-cv-04532-ROS-ESW

17                          Plaintiff,                  PLAINTIFF’S MOTION FOR
                                                         VOLUNTARY DISMISSAL
            v.                                        PURSUANT TO FEDERAL RULE
18
     Joseph Pitz, et al.,                             OF CIVIL PROCEDURE 41(A)(2)
19
                            Defendants.
20
21

22         Under Federal Rule of Civil Procedure 41(a)(2), Plaintiff moves to voluntarily

23 dismiss this case based on the representations by Assistant Deputy Warden Robert Gierke
24 and COII Jose Zazueta in their depositions taken on April 7, 2023, and the Declaration of

25 Assistant Director of Facilities Management Fred Moreno that (1) all cell doors and locks

26 in the Buckley Unit of ASPC-Lewis have been replaced, (2) the cell doors and locks are
     Case 2:19-cv-04532-ROS Document 398 Filed 05/19/23 Page 2 of 3



1 currently functioning as designed, and (3) inmates are not able to manipulate their cell

2 locks or doors to exit their cells without authorization. The deposition transcripts and
3 declaration are in the possession of counsel for the parties.

4         Accordingly, the Plaintiff hereby requests that this Court dismiss this litigation in

5 its entirety without prejudice, each side to bear its own attorneys’ fees and costs.
6

7    Dated: May 19, 2023                      PERKINS COIE LLP
8                                             By: /s/ Janet M. Howe
                                                  Christopher D. Thomas
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 1                                   CERTIFICATE OF SERVICE

 2            I hereby certify that on May 19th, 2023, I electronically transmitted the attached
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 3
     Notice of Electronic Filing to the following CM/ECF registrants:
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